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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                      (at Frankfort)

 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               )      Criminal Action No. 3: 08-21-S-DCR
                                                  )
 V.                                               )
                                                  )
 LEONARD LAWSON, CHARLES                          )
 WILLIAM NIGHBERT and BRIAN                       )         MEMORANDUM OPINION
 RUSSELL BILLINGS,                                )             AND ORDER
                                                  )
         Defendants.                              )

                                        *** *** *** ***

       This matter is pending for consideration of the Defendants’ joint motion to transfer the case

to Covington for trial or, in the alternative, to transfer it to another jury division. [Record No. 91]

For the reasons discussed herein, the Court will grant the motion and scheduled the trial of this

action in the Northern Division of the Court at Covington.

       Defendants Leonard Lawson, Charles Nighbert, and Brian Billings allege that pretrial

publicity and general public sentiment within the Frankfort jury division are so prejudicial as to

deprive them of a fair and impartial jury. This case is currently set for trial in the Court’s Central

Division, at Frankfort, Kentucky. The case is the result of a year-long investigation into allegations

that the Defendants conspired with others to leak engineering estimates and rig bids on state

highway project contracts. At the time of the allegedly illegal activities, Defendant Billings was

employed by a road construction company owned and operated by Defendant Lawson, while

Defendant Nighbert served as Secretary of the Kentucky Transportation Cabinet (“KTC”). Because



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of numerous factors including Lawson’s and Nighbert’s prominence in their respective fields, the

case has received – and continues to receive – a great deal of attention from the media. Numerous

newspapers, websites, and television stations published information about the case both before and

after the Defendants were indicted in September 2008. [Record No. 91, Attach. 4] This attention

continues even with minor and trivial matters. The Defendants contend that this statewide publicity,

combined with the location of Frankfort as the state capital, predisposes the Frankfort jury division

to a prejudicial view of the Defendants. The United States asserts that any prejudice stemming from

the pretrial publicity can be addressed through the voir dire process, but recognizes that such a

process may be extensive enough to warrant transfer. [Record No. 187]

       As a general proposition, the Court notes that trial judges have wide discretion in ruling on

motions for change of venue. United States v. Lewis, 504 F.2d 92, 97 (6th Cir. 1974) (citing Platt

v. Minnesota Mining & Mfg. Co., 376 U.S. 240, 245 (1964)). “Transfer of a particular case from

one place within the district to another place within the district is a matter for the local district

judges to decide.” Lewis, 504 F.2d at 98. This discretion is rooted in Federal Rule of Criminal

Procedure 18 and this district’s Local Criminal Rule 18.2(b). Both rules restate the traditional rule

of forum non conveniens and vest the trial court with the authority to set the location of the trial

based on convenience – for the court, defendant, and witnesses – and the interests of justice. FED

R. CRIM. P. 18, E.D. KY. L. CR. R. 18.2(b).

       Here, the Court’s main focus is the interests of justice. More specifically, the Court is

concerned with seating a jury untainted by prejudicial media reports. The Defendants argue that

transfer is warranted because of extensive pretrial publicity within the Frankfort jury division. In

support, they have tendered nearly 500 pages of newspaper, television, and internet coverage of the


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case, generated mainly in August and early September 2008. [Record No. 94] Specifically, the

Defendants assert that the publicity in Frankfort – even more than the publicity in other areas of the

state – has been biased against the interests of the Defendants. Articles in the local Frankfort

newspaper extensively quoted the Indictment, which contained lengthy conversations between the

Defendants and others. These articles and television programs also referenced an earlier state

employee hiring controversy in which Nighbert had been implicated, along with comments from

current Governor Steve Beshear regarding the “misguided leadership,” cronyism, and corruption in

the state transportation department. [Record No. 94, Ex. 2]

       Under such circumstances, the Supreme Court recognizes two types of jury prejudice: “(1)

presumed prejudice, whereby the setting of the trial is inherently prejudicial, and (2) actual

prejudice, whereby voir dire is inadequate to offset extensive and biased media coverage.” Robinson

v. Gundy, 174 F. App’x 886, 890 (6th Cir. 2006) (unpublished) (citing Ritchie v. Rogers, 313 F.3d

948, 952 (6th Cir. 2002)). The requisite prejudice must create a trial atmosphere that is circus-like

or “utterly corrupted by press coverage.” Ritchie, 313 F.3d at 952. These standards are stringent

and difficult to meet because they are used to determine whether prejudice has reached the level of

constitutional violation. And although the Court is unprepared to conclude that pretrial publicity

in this case constitutes press corruption or has created a circus-like atmosphere, it has certainly been

extensive and concentrated within the Frankfort jury division. As noted previously, many of the

articles and programs referenced by the Defendants were published or produced in barely one month

surrounding the Defendants’ indictment.

       In addition, Frankfort itself is an especially receptive audience for extensive media coverage

of this particular type of case. As the state capital and corresponding location of the KTC and most


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of the state government’s offices, Frankfort is populated with a high percentage of state government

employees. Forty-seven percent of the workers in Franklin County are employed by state or local

government, as opposed to the twelve percent in Kenton County (the County in which Covington

is located.)1 Because Franklin County is the largest county by population of those counties

constituting the Frankfort jury pool, state employees and/or their family members will likely

constitute a large percentage of possible jurors if this case is not transferred. In addition, Nighbert’s

position with the previous Governor Fletcher’s administration, and his alleged involvement in an

employee hiring controversy, were all geographically centered in Frankfort. In the context of

seating a jury in Frankfort this case, the manner in which newspapers and other news outlets

reported on these other incidents are of great concern to the Court.

        Finally, the United States neither disputes the extensiveness of the pretrial publicity to which

the Frankfort jury division has been exposed, nor alleges inconvenience on the part of any witnesses

or parties. In light of these facts, and in the interests of ensuring that the Defendants are afforded

a fair trial, the Court will transfer the trial of this matter from Frankfort to Covington. Accordingly,

it is hereby

        ORDERED that the Defendants’ motion to change venue for purposes of trial [Record No.

91] is GRANTED. The trial of this action will be transferred to the Northern Division of the Court

at Covington, Kentucky.

        This 2nd day of March, 2009.




        1
          This statistic is based on a 2007 database maintained by the Kentucky Cabinet for Economic
Development. Employment: Kentucky County Nonagricultural by Industry, available at
http://www.thinkkentucky.com/EDIS/Deskbook/files/NonAgEmpCty.PDF.

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